                                                                                                      Electronically Filed - Jasper County - Joplin - November 04, 2019 - 02:42 PM
                                                                               19AO-CC00276
                                                                                            EXHIBIT
                 IN THE CIRCUIT COURT OF JASPER COUNTY, MISSOURI                                A
                                    AT JOPLIN

CYNTHIA ANDREWS
             Plaintiff,                        )
                                               )
v.                                             )       Case No.
                                               )
DUSTIN DWYER and                               )
THE HERTZ CORPORATION                          )
                                               )
                        Defendants.            )

Serve:

Dustin Dwyer
15660 E. Evening Shade St.
Benton, KS 67017

The Hertz Corporation,
through its Registered Agent:
C T Corporation System
120 S. Central Ave.
Clayton, MO 63105


                                   PETITION FOR DAMAGES

         COMES NOW Plaintiff Cynthia Andrews by and through her attorneys, and for her cause

of action against defendants states as follows:

         1.      Cynthia Andrews is a resident of Missouri and over the age of 18.

         2.      Defendant Dustin Dwyer is a resident of Kansas and over the age of 18.

         3.      Defendant The Hertz Corporation is a corporation in good standing in the State of

Missouri.

         4.      All events relevant to this cause of action occurred in Jasper County, Missouri.

         5.      On or about April 2, 2019, Plaintiff was the restrained passenger in a 1995 Buick

traveling westbound on 32nd Street in Joplin, Missouri.




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                                                                                                        Electronically Filed - Jasper County - Joplin - November 04, 2019 - 02:42 PM
       6.      At same time and location, defendant Dwyer was operating a 2019 Cadillac owned

by defendant The Hertz Corporation, eastbound on 32nd Street in Joplin, Missouri.

       7.      Defendant Dwyer was driving in a reckless manner at a dangerously high speed and

violently crashed head-on into Plaintiff’s vehicle.

       8.      On April 2, 2019, while utilizing the public roadway, defendants Dwyer and The

Hertz Corporation owed to Plaintiff a duty to operate the vehicle under its control using the highest

degree of care so as not to injure, maim, or harm Plaintiff.

       11.     Defendant Dwyer’s reckless manner of driving was negligent per se.

       12.     That as a direct and proximate result of one or more of the foregoing negligent acts

or omissions on the part of defendants, Plaintiff sustained injuries to her back and neck. Plaintiff

has endured pain and will continue to endure pain in the future. Plaintiff has incurred medical bills

and expenses and will incur medical bills in the future.

       WHEREFORE, plaintiff prays judgment against Defendants for such damages as are fair

and reasonable, prejudgment interest as provided by law, for Plaintiff’s costs herein incurred and

for such other relief as the Court deems just and reasonable.

                                              STICKLEN & DREYER, P.C.

                                              /s/ Charles Sticklen
                                              ____________________________
                                              Charles J. Sticklen, Jr., #39333
                                              Sarah R. Sticklen, #71191
                                              1515 E. 32nd Street, Suite 1
                                              Joplin MO 64804
                                              PHONE: 417-626-9880/FAX: 417-626-7686
                                              charlie@sticklenanddreyer.com
                                              sarah@sticklenanddreyer.com




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Electronically Filed - Jasper County - Joplin - December 09, 2019 - 03:12 PM




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Electronically Filed - Jasper County - Joplin - December 09, 2019 - 03:12 PM




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                                                                                          Electronically Filed - Jasper County - Joplin - November 08, 2019 - 04:00 PM
           IN THE CIRCUIT COURT OF JASPER COUNTY, MISSOURI
                              AT JOPLIN

CYNTHIA ANDREWS
             Plaintiff,                    )
                                           )
v.                                         )      Case No. 19AO-CC00276
                                           )
DUSTIN DWYER and                           )
THE HERTZ CORPORATION                      )
                                           )
                        Defendants.        )

                         MOTION FOR CHANGE OF JUDGE

      COMES NOW Plaintiff, by undersigned counsel and respectfully requests a change of

Judge in this matter.



                                           STICKLEN & DREYER, P.C.

                                           /s/ Charles Sticklen
                                           ____________________________
                                           Charles J. Sticklen, Jr., #39333
                                           Sarah R. Sticklen, #71191
                                           1515 E. 32nd Street, Suite 1
                                           Joplin MO 64804
                                           PHONE: 417-626-9880/FAX: 417-626-7686
                                           charlie@sticklenanddreyer.com
                                           sarah@sticklenanddreyer.com




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                                                                                              Electronically Filed - Jasper County - Joplin - November 18, 2019 - 02:55 PM
                IN THE CIRCUIT COURT OF JASPER COUNTY, MISSOURI
                                   AT JOPLIN

CYNTHIA ANDREWS
             Plaintiff,                   )
                                          )
v.                                        )      Case No. 19AO-CC00276
                                          )
DUSTIN DWYER and                          )
THE HERTZ CORPORATION                     )
                                          )
                     Defendants.          )



                               ENTRY OF APPEARANCE


       Comes now Sarah René Sticklen, and hereby enters her appearance as co-counsel in the

above matter.


                                   STICKLEN & DREYER, P.C.


                                   /s/ Sarah René Sticklen
                                   _________________________
                                   Sarah René Sticklen, Mo. Bar 71191
                                   1001 Cherry St., Suite 104
                                   Columbia MO 65201
                                   Phone 573-303-6828/Fax 417-626-7686
                                   sarah@sticklenanddreyer.com
                                   ATTORNEYS FOR PLAINTIFF




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